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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF NEW YORK

    __________________________________________
    THE UNITED STATES OF AMERICA,              )
                                               )
                      Plaintiff,               )
                                              )
                v.                            )
                                              )
    STATE OF NEW YORK,                        )                  Civil Action No. 13-CV-4165
                                              )                  (NGG)
                      Defendant.              )
    __________________________________________)

    __________________________________________
    RAYMOND O’TOOLE, ILONA SPIEGEL, and )
    STEVEN FARRELL, individually and on behalf )
    of all others similarly situated,          )
                                               )
                            Plaintiffs,        )
                    v.                         )
                                               )
    ANDREW M. CUOMO, in his official           )                 Civil Action No. 13-CV-4166
    capacity as Governor of the State of New   )                 (NGG)
    York, NIRAV R. SHAH, in his official       )
    capacity as Commissioner of the New York   )
    State Department of Health, KRISTIN M.     )
    WOODLOCK, in her official capacity as      )
    Acting Commissioner of the New York        )
    State Office of Mental Health, THE NEW     )
    YORK STATE DEPARTMENT OF                   )
    HEALTH, and THE NEW YORK STATE             )
    OFFICE OF MENTAL HEALTH,                   )
                                               )
                            Defendants.        )
    __________________________________________)



               AMENDED STIPULATION AND ORDER OF SETTLEMENT

            WHEREAS, the United States of America asserts as against the State of New
    York, and the Plaintiff Class asserts as against certain State agencies and officials, that
    they are prepared to commence litigation seeking declaratory and injunctive relief,
    alleging violations of Title II of the Americans with Disabilities Act (“ADA”), 42 U.S.C.
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    § 12131 et seq., and Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794, with
    respect to individuals with serious mental illness who reside in, or who may in the future
    reside in, NYC Impacted Adult Homes, meaning Adult Homes in New York City with
    certified capacities of 120 or more in which 25 percent or more of the residents or 25
    residents, whichever is less, have serious mental illness; and

            WHEREAS, the United States of America and the Plaintiff Class (collectively,
    the “Plaintiffs”) allege that the State of New York and certain State agencies and officials
    (collectively, the “State”) violate the ADA and the Rehabilitation Act by designing,
    funding, and administering the State’s mental health service system in a manner that
    discriminates against Persons with Serious Mental Illness who reside in NYC Impacted
    Adult Homes; that there are more than 4,000 individuals with serious mental illness who
    currently reside in NYC Impacted Adult Homes; and that NYC Impacted Adult Homes
    are segregated facilities that are not the most integrated setting appropriate for individuals
    with serious mental illness, virtually all of whom can be served in more integrated
    settings, specifically, supported housing; and

            WHEREAS, the State of New York and State agencies and officials, namely the
    Commissioner of the New York State Office of Mental Health, the Commissioner of the
    New York State Department of Health, and the Governor of the State of New York, all in
    their official capacities, and the New York State Office of Mental Health (“OMH”) and
    the New York State Department of Health (“DOH”) (collectively “the Defendants” or
    “the State”), deny that they have violated the ADA or the Rehabilitation Act; and

            WHEREAS, OMH has issued a Clinical Advisory stating that Adult Homes with
    a significant proportion of residents with serious mental illness are not conducive to the
    recovery and rehabilitation of these individuals and thus are not clinically appropriate
    settings for such individuals; and

            WHEREAS, on January 16, 2013, DOH adopted regulations providing that no
    operator of an Adult Home located anywhere in New York State with a certified capacity
    of 80 or more shall admit any person with serious mental illness whose admission will
    cause such Adult Home to become or remain a “Transitional Adult Home” – meaning
    that the mental health census of such particular adult home is 25 percent or more of the
    resident population – and that the operator of any Transitional Adult Home must submit a
    compliance plan to DOH demonstrating how it will reduce such mental health census
    below 25 percent; and

           WHEREAS, on January 16, 2013, OMH adopted regulations prohibiting OMH-
    licensed psychiatric inpatient units of general hospitals and private psychiatric hospitals
    from discharging individuals with Serious Mental Illness to Transitional Adult Homes,
    and has issued similar guidance to its state-operated psychiatric centers through
    amendments to its Official Policy Manual; and

          WHEREAS, the Medicaid Redesign Team (“MRT”), established by the
    Governor in Executive Order No. 5 on January 5, 2011, recommended a series of reforms

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    in the Medicaid Program, most of which were incorporated into the budget for State
    Fiscal Years 2011-12 and 2012-13, including the creation of Health Homes and the
    institution of an accelerated shift to Managed Long Term Care Plans (“MLTCPs”) for
    eligible Medicaid recipients; and

             WHEREAS, as part of the implementation of the aforementioned MRT
    initiatives, Persons with Serious Mental Illness who reside in Transitional Adult Homes
    throughout the State will be enrolled in either Health Homes or MLTCPs, which will
    perform comprehensive assessments of the residents’ physical and behavioral health
    needs and arrange for needed services; and

             WHEREAS, the State will require that Health Homes and MLTCPs, as part of
    the comprehensive assessment of a Person with Serious Mental Illness residing in a
    Transitional Adult Home, affirmatively work with the individual and his or her family as
    appropriate to recommend housing and coordinate other social, medical and behavioral
    health services that would be necessary to support such individual and facilitate his or her
    ability to live in the community; and

            WHEREAS, pursuant to a Request for Proposals issued on August 10, 2012,
    OMH entered into contracts to fund the development of 1,050 Supported Housing units in
    Kings and Queens Counties over a three year period for the purpose of helping Persons
    with Serious Mental Illness residing in Transitional Adult Homes in such counties
    transition to the community as appropriate and will enter into additional similar
    arrangements as necessary; and

             WHEREAS, the State has developed a Community Transition Unit within DOH,
    which includes several Community Transition Coordinators who will help facilitate
    efforts to transition individuals with Serious Mental Illness residing in Transitional Adult
    Homes to the community; and

           WHEREAS, by Executive Order No. 84 issued on November 30, 2012, the
    Governor established a body of State officials to provide guidance in the creation of a
    formal Olmstead Plan; and

           WHEREAS, in addition to these efforts, the State and Plaintiffs intend that the
    measures required pursuant to this Agreement will provide residents of Impacted Adult
    Homes in New York City who have serious mental illness with the opportunity to live in
    the most integrated setting and will ensure that they are provided with the information
    necessary to allow them to make informed choices about those opportunities;

            IT IS HEREBY STIPULATED AND AGREED by and among the undersigned
    that Plaintiffs’ claims are settled on the following terms and conditions:

    A.     INTRODUCTION

           The Parties agree that it is in their mutual interest to avoid the time, expense, and

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          risk of litigation and hereby resolve the allegations by entering into this
          Agreement.

    B.    JURISDICTION

          The Parties acknowledge that the Court has jurisdiction over this case pursuant to
          28 U.S.C. § 1331, 28 U.S.C. § 1345, and 42 U.S.C. §§ 12131-12132 and authority
          to enter this Agreement and to enforce its terms as set forth herein. Venue is
          proper in this district pursuant to 28 U.S.C. § 1391(b).

    C.    DEFINITIONS

          1.     “Adult Home” means an adult care facility licensed as an adult home by
                 the Department of Health pursuant to Social Services Law Article 7.

          2.     “Transitional Adult Home” means an Adult Home with a certified
                 capacity of 80 or more beds and a Mental Health Census of 25 percent or
                 more of the resident population. Transitional Adult Homes include NYC
                 Impacted Adult Homes.

          3.     “NYC Impacted Adult Home” means an Adult Home located in New
                 York City with a certified capacity of 120 or more beds and a Mental
                 Health Census of 25 percent or more of the resident population or 25
                 persons, whichever is less, consisting of the facilities listed in Appendix
                 A.

          4.     “NYC Adult Home Resident” means a Person with Serious Mental Illness
                 residing in a NYC Impacted Adult Home.

          5.     A “Person with Serious Mental Illness” means an individual who meets
                 criteria established by the Commissioner of Mental Health, which shall be
                 persons who have a designated diagnosis of mental illness under the most
                 recent edition of the Diagnostic and Statistical Manual of Mental
                 Disorders (but not a primary diagnosis of alcohol or drug disorders,
                 organic brain syndromes, developmental disabilities or social conditions)
                 and whose severity and duration of mental illness results in substantial
                 functional disability.

                 An individual is presumed to have a substantial functional disability as a
                 result of mental illness if the individual:

                 a.      received treatment from a mental health services provider
                         operated, licensed or funded by OMH within the 24 months
                         preceding the date on which this Agreement is “so ordered” by the
                         Court, unless the Health Home or MLTCP determines, based on
                         information which the Health Home or MLTCP shall document,

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                       that the individual’s mental illness has not resulted in a substantial
                       functional disability; or

                b.     is under the age of 65 and receives Supplemental Security Income
                       (“SSI”) or Social Security Disability Insurance (“SSDI”) due to
                       mental illness (but not a primary diagnosis of alcohol or drug
                       disorders, organic brain syndromes, developmental disabilities or
                       social conditions):

                        i. according to reliable information received from the Social
                           Security Administration, pursuant to a reasonable agreement to
                           share data, that the individual’s receipt of SSI or SSDI is due to
                           mental illness, unless the Health Home or MLTCP determines,
                           based on information which the Health Home or MLTCP shall
                           document, that the individual’s mental illness has not resulted
                           in a substantial functional disability; provided, however, that:
                           (1) this subparagraph (b)(i) shall not apply to individuals who
                           receive in-reach or are assessed by Health Homes or MLTCPs
                           prior to the date on which such agreement to share data is in
                           place; and (2) this subparagraph (b)(i) shall not apply if the
                           State determines that it cannot reach a reasonable agreement to
                           share data with the Social Security Administration within four
                           months of the date on which this Agreement is “so ordered” by
                           the Court; or

                       ii. according to a written final administrative determination from
                           the Social Security Administration specifying that the
                           individual was awarded SSI or SSDI due to mental illness,
                           unless the Health Home or MLTCP determines, based on
                           information which the Health Home or MLTCP shall
                           document, that the individual’s mental illness has not resulted
                           in a substantial functional disability.

          6.    “Mental Health Census” means the number of residents in an Adult Home
                who are Persons with Serious Mental Illness.

          7.    “Supported Housing” means scattered-site apartments for which OMH
                funding provides rental assistance and a minimum level of housing-related
                support services from the housing provider for individuals with Serious
                Mental Illness. These housing-related support services include assisting
                the resident in managing tenant/landlord relations and with transitioning to
                the new housing unit. In situations where a resident needs ongoing
                additional support to manage his or her symptoms, or assistance with
                living skills such as shopping, maintaining his or her living environment,
                medication management, and/or personal care services, the supported
                housing provider may assist in linking the resident with the entities that

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                directly provide these additional services in coordination with the
                resident’s care manager (Health Home or MLTCP). These additional
                support services may include the Community Services listed in paragraph
                8 below.

          8.    “Community Services” means services and supports provided in New
                York State that assist persons with Serious Mental Illness to live in the
                community. Such services and supports include, but are not limited to,
                Assertive Community Treatment (“ACT”), care coordination, employment
                services, outpatient services, Intensive Psychiatric Rehabilitation
                Treatment, medical services, Personalized Recovery Oriented Services
                (“PROS”), crisis services, assistance with taking medication (including
                through prompting), Medicaid benefits for which the Adult Home
                Resident is eligible, including but not limited to home and community
                based services (“HCBS”) waivers, clinic services, certified home health
                care, personal care assistance, nursing and rehabilitative services.

          9.    “Community Transition List” means one or more lists maintained for the
                purpose of facilitating efforts to transition NYC Adult Home Residents
                into the community.

          10.   “Health Home” means a State-approved entity that provides or arranges
                for care management from care management partner agencies that provide
                health home services including comprehensive assessment, comprehensive
                care management, health promotion, transitional care including
                appropriate follow-up from inpatient to other settings, patient and family
                support, referral to community and social support services, and use of
                health information technology to link services.

          11.   “Managed Long Term Care Plan” or “MLTCP” means an entity that
                provides or arranges for the provision of health and long-term care
                services to adults with chronic illness or disabilities. MLTCP services
                include – but are not limited to – nursing, physical therapy, occupational
                therapy, speech pathology, medical equipment and supplies, podiatry,
                dentistry, optometry, respiration therapy, transportation and social day
                care. These services are provided under contract with the State and Federal
                governments.

    D.    SUPPORTED HOUSING

          1.    The State shall fund Supported Housing units in a quantity sufficient such
                that every NYC Adult Home Resident for whom Supported Housing is
                appropriate in accordance with sections F and G of this Agreement is
                afforded the opportunity to transition to a unit during the time when this
                Agreement is in effect. The State shall have the discretion to allocate
                Supported Housing units within New York City as necessary for the

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                implementation and oversight of the Transitional Adult Home compliance
                plans approved pursuant to regulations adopted by DOH; provided
                however, that the State shall make all reasonable efforts to coordinate the
                performance of assessments by Health Homes and MLTCPs with the
                development of Supported Housing units so that the assessments take into
                account Supported Housing units that are actually available or will soon
                become available.

          2.    The State shall dedicate a minimum of 2,000 Supported Housing units to
                help transition NYC Adult Home Residents for whom Supported Housing
                is appropriate out of NYC Impacted Adult Homes. The Supported
                Housing units referenced under this paragraph shall include:

                a.     The 1,050 units that are being funded and operated in Kings and
                       Queens Counties pursuant to the RFP issued by OMH on August
                       10, 2012;

                b.     Additional units that the State will fund for development and
                       operation of Supported Housing units in Staten Island and the
                       Bronx pursuant to one or more RFPs that will be issued by OMH
                       within two years of the execution of this Agreement; and

                c.     Additional units that the State will fund for development and
                       operation in New York City pursuant to one or more additional
                       RFPs to be issued by OMH, as necessary pursuant to Section D(1).

          3.    The use of Supported Housing units for other populations shall not reduce
                the State’s obligation under Section D(1) during the time when this
                Agreement is in effect.

    E.    IN-REACH

          1.    The State shall arrange for the entities that provide Supported Housing, as
                set forth in Section D, pursuant to contracts with OMH (“Housing
                Contractors”), to conduct in-reach in the NYC Impacted Adult Homes.
                In-reach shall not be provided by operators of NYC Impacted Adult
                Homes. For any housing contracts procured after the date of this
                agreement, OMH shall consider whether prospective bidders have
                provided onsite case management to any of the NYC Impacted Adult
                Homes listed in Appendix A and whether that experience, in addition to
                other relevant experience, would impact their ability to conduct effective
                in-reach.

          2.    The goal of in-reach is to actively support NYC Adult Home Residents in
                considering and making an informed choice about moving to Supported



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                Housing or other housing that is the most integrated setting appropriate to
                the individual.

                a.     The State shall require Housing Contractors, in providing in-reach,
                       to provide information about the benefits of Supported Housing
                       and discuss any concerns that a NYC Adult Home Resident may
                       have about moving to Supported Housing.

                b.     The State shall use best efforts to locate persons who live in
                       Supported Housing and are willing to speak with NYC Adult
                       Home Residents, so that Housing Contractors can offer NYC Adult
                       Home Residents opportunities to speak with such persons.

                c.     The State shall require Housing Contractors, in providing in-reach,
                       to provide information such as photographs and/or virtual tours of
                       sample Supported Housing apartments that will help residents
                       visualize Supported Housing settings.

                d.     The State shall require Housing Contractors to facilitate visits for
                       those NYC Adult Home Residents who have been identified by the
                       Health Home or MLTCP as Residents who appear to be
                       appropriate candidates for Supported Housing pursuant to Section
                       F but are undecided about their desire to move to Supported
                       Housing and could benefit from such visit.

          3.    Housing Contractors shall provide in-reach to their designated NYC Adult
                Home Residents on a regular and continuing basis during the time period
                of their contracts with OMH.

          4.    The State shall advise NYC Impacted Adult Homes that they may not
                interfere with the reasonable access of Housing Contractors to the NYC
                Impacted Adult Homes and may not discourage NYC Adult Home
                residents from meeting with Housing Contractors. The State shall require
                Housing Contractors to report to the State any instances of such
                interference or discouragement. The State shall take appropriate
                corrective action to address interference or discouragement, which may
                include action available under Social Services Law §§ 460-d, 461 and
                461-a and 18 NYCRR Parts 485 and 487 to the extent deemed appropriate
                by DOH.

    F.    ASSESSMENT

          1.    The State shall arrange for Health Homes and MLTCPs that have
                completed the State’s training, as defined in Section H, to conduct a
                comprehensive assessment of each NYC Adult Home Resident. If a NYC
                Adult Home Resident is not enrolled in a Health Home or MLTCP, then

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                the State shall provide the person with a care coordinator who shall carry
                out the functions in this Agreement that would otherwise be assigned to a
                Health Home and MLTCP.

          2.    The assessment shall determine the housing and service needs and
                preferences of the NYC Adult Home Resident for purposes of
                transitioning from the NYC Impacted Adult Home. Each assessment shall
                identify the housing that is the most integrated setting appropriate for the
                individual and the Community Services needed to support the individual
                in such housing, based on the individual’s needs and personal preferences.

          3.    Community integration and self-determination shall be key considerations
                in the assessment process.

          4.    Health Homes and MLTCPs shall have the linguistic and cultural
                competence in the aggregate to serve competently all NYC Adult Home
                Residents.

          5.    Assessments shall begin with the presumption that NYC Adult Home
                Residents can live in Supported Housing. A resident will be considered
                appropriate for Supported Housing if desired by the resident, unless the
                assessment discloses that the resident:

                a.     Has significant dementia;

                b.     Would be a danger to self or others in Supported Housing even if
                       receiving the services referenced in subparagraph d below;

                c.     Needs skilled nursing care that cannot be provided outside of a
                       nursing home or hospital; or

                d.     Needs a type and/or frequency and duration of service on an
                       ongoing and sustained basis in order to live in Supported Housing
                       that is not available under the New York State Medicaid program,
                       unless another public (e.g., Medicare) or private (e.g., Meals on
                       Wheels) program will pay for or provide the needed service, the
                       individual is eligible for such program, and such program is
                       available to such individual.

                       Services available through the New York State Medicaid program
                       include, but are not limited to, Medicaid-billable Community
                       Services, such as assertive community treatment (“ACT”), care
                       coordination, crisis services, home health services, assistance with
                       taking medication (including through prompting), personal care
                       services, licensed mental health clinic services and successor
                       programs that serve the same functions as these services; provided,

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                        however, that (i) Medicaid services shall be available to NYC
                        Adult Home Residents pursuant to the same criteria applicable to
                        other similarly situated individuals enrolled in the Medicaid
                        program; and (ii) nothing in this Agreement shall prevent the State
                        from discontinuing or revising these or any other services offered
                        in the Medicaid program, subject to Section J(2) below.

           6.    A NYC Adult Home Resident shall not be determined to be inappropriate
                 for Supported Housing solely based on lack of desire unless he or she has
                 been provided with the opportunity to receive In-Reach, pursuant to
                 Section E above.

           7.    If a NYC Adult Home Resident is assessed as not appropriate for
                 Supported Housing:

                 a.     the assessment must identify the specific reasons why such
                        Supported Housing is not appropriate; and

                 b.     the Resident will be afforded the opportunity to live in the most
                        integrated setting desired by the Resident that is appropriate to the
                        Resident’s needs.

     G.    PERSON-CENTERED CARE PLANNING

           1.    The State shall require that for each NYC Adult Home Resident assessed
                 pursuant to Section F, the Health Home or MLTCP shall develop the
                 individual’s person-centered care plan. The person-centered care planning
                 shall include consideration of the current and unique psychosocial and
                 medical needs and history of the individual as well as the functional level
                 and support systems developed by the Health Home or MLTCP care
                 manager.

           2.    The State shall require that each NYC Adult Home Resident be provided
                 with a primary role in developing the plan and with information
                 reasonably sufficient to assist him or her in making informed choices
                 about housing and services.

           3.    The State shall require that each person-centered plan identify the housing
                 that is the most integrated setting appropriate for the individual and the
                 Community Services needed to support the individual in such housing,
                 based on the individual’s needs and personal preferences and subject to
                 the provisions of Section F(5). In cases where OMH Supported Housing
                 is part of the person-centered plan developed by the Health Home or
                 MLTCP, the assigned Health Home or MLTCP care manager will make a
                 referral to the appropriate Housing Contractor.



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     H.    TRAINING

           1.    Within 180 days of the execution of this Agreement or within 30 days of
                 the commencement of operations of a Health Home or MLTCP,
                 whichever is later, the State shall provide guidance and training to the
                 Health Homes and MLTCPs pertaining to the assessment of NYC Adult
                 Home Residents and the development of person-centered care plans. Such
                 guidance and training shall include the requirement that each assessment
                 identify the housing that is the most integrated setting appropriate for the
                 individual and the Community Services needed to support the individual
                 in such housing, based on the individual’s needs and personal preferences
                 and subject to the provisions of Section F (5), and the presumption that all
                 NYC Adult Home Residents can live in Supported Housing, subject to the
                 provisions of Section F (5).

           2.    Within 180 days of the execution of this Agreement or within 30 days of
                 the commencement of activity on a contract awarded to a Housing
                 Contractor, whichever is later, the State shall provide guidance and
                 training to the Housing Contractors pertaining to their obligations to
                 provide in-reach, including techniques of motivational interviewing, and
                 the presumption that all NYC Adult Home Residents can live in Supported
                 Housing, subject to the provisions of Section F (5).

     I.    TRANSITIONING

           1.    The State shall require the Housing Contractors, Health Homes and
                 MLTCPs to carry out their responsibilities so that the following schedule
                 is achieved:

                 a.     Within four years of execution of this Agreement, at least 2,500
                        NYC Adult Home Residents shall be assessed by Health Homes or
                        MLTCPs pursuant to Section F and, if appropriate under a person-
                        centered care plan developed pursuant to Section G, transitioned
                        from NYC Impacted Adult Homes.

                 b.     Within five years of the execution of this Agreement, all NYC
                        Adult Home Residents shall be assessed by Health Homes or
                        MLTCPs pursuant to Section F and, if appropriate under a person-
                        centered care plan developed pursuant to Section G, transitioned
                        from NYC Impacted Adult Homes.

           2.    The State shall provide any NYC Adult Home Resident who is otherwise
                 eligible for Supported Housing pursuant to Section F, but who declines an
                 offer for Supported Housing, with the opportunity for additional in-reach
                 and, if the Resident so desires, the opportunity to move to Supported
                 Housing, during the period in which this Agreement is in effect. Such

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                 additional in-reach shall be provided periodically, but on no less than an
                 annual basis, by a Housing Contractor. If no Housing Contractor is
                 available, in the discretion of OMH, to provide such in-reach, the State
                 shall provide or arrange for an equivalent in-reach function.

     J.    COMMUNITY SERVICES

           1.    For the duration of this Agreement, the State shall ensure that Health
                 Homes and MLTCPs arrange for the provision of Community Services
                 identified in NYC Adult Home Residents’ person-centered plans,
                 consistent with Section G, and ensure that such Services are available.

           2.    For the duration of this Agreement, the Community Services available to
                 NYC Adult Home Residents (whether through the Medicaid program or
                 another program), if the Resident is eligible for the service, shall include
                 the following services or, if the State replaces or changes the services,
                 services that perform substantially the same function: licensed mental
                 health clinic services, assertive community treatment (“ACT”), home
                 health services, mobile crisis services, care coordination, assistance with
                 taking medication (including through prompting), and personal care
                 services; provided, however, that eligibility for such services must be
                 determined on an individual basis based on eligibility criteria that are
                 comparable to criteria in place on the date this Agreement is executed.

           3.    For purposes of determining an individual’s eligibility for ACT, eligibility
                 shall be determined by the OMH Statewide ACT Guidelines.

     K.    REPORTING

           1.    Until the Court terminates jurisdiction over this matter, Defendants shall
                 provide to the Plaintiffs, the Independent Reviewer (defined in Section L
                 below), and the Court a quarterly report that indicates:

                 a.     The number of Supported Housing units for which the State has
                        provided funding and the Housing Contractors that received
                        funding.

                 b.     The number of Supported Housing units created pursuant to this
                        Agreement that are occupied by NYC Adult Home Residents.

                 c.     The name of each NYC Adult Home resident who has been
                        identified as a Person with Serious Mental Illness at each of the
                        NYC Impacted Adult Homes listed in Appendix A.

                 d.     The name of each NYC Adult Home Resident who has been
                        assessed under Section F, the date of assessment, the NYC

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                        Impacted Adult Home at which he or she resided when assessed,
                        and the housing recommendation made as a result of each
                        assessment.

                 e.     The name of each NYC Adult Home Resident who has
                        transitioned, the Adult Home in which he or she lived, the date on
                        which he or she moved, and the type of housing to which he or she
                        moved.

                 f.     The name of each NYC Adult Home Resident assessed as not
                        appropriate for Supported Housing, and the specific reasons why
                        such Supported Housing is not appropriate.

           2.    The quarterly report required in Section K(1) shall be provided in an
                 electronic format that may be imported into standard spreadsheet software.

           3.    Until the Court terminates jurisdiction over this matter, Defendants shall
                 provide to Plaintiffs and the Reviewer:

                 a.     A copy of any training materials used in connection with the
                        State’s training pursuant to Section H.

                 b.     A copy of the Community Transition List, updated quarterly.

           4.    Until the Court terminates jurisdiction over this matter, Defendants shall
                 notify Plaintiffs and the Reviewer about any instances in which the State
                 has received a report that a NYC Adult Home Resident is being
                 discouraged by an Adult Home from exploring alternatives to or
                 transitioning from Adult Homes.

           5.    A request by Plaintiffs or the Independent Reviewer for relevant
                 information shall not be unreasonably denied. The Parties shall negotiate
                 in good faith any areas of disagreement as to whether and when such
                 information shall be made available.

           6.    Any personally identifying information shared with the Plaintiffs or the
                 Reviewer under this Agreement shall be treated and maintained as
                 confidential.

           7.    The Parties and the Reviewer shall meet quarterly to discuss
                 implementation progress and obstacles and how to overcome obstacles to
                 achieving the goals of this Agreement.




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     L.    INDEPENDENT REVIEWER

           1.    The Parties agree that Clarence Sundram shall be the Independent
                 Reviewer (“Reviewer”) to monitor the State’s implementation of this
                 Agreement (the “Reviewer”). The State shall retain the Independent
                 Reviewer within 60 days of executing this Agreement.

           2.    In the event the Reviewer resigns or the Parties agree to replace the
                 Reviewer, the Parties shall meet and confer within 30 days of the
                 resignation or their agreement and select a replacement. If they are unable
                 to agree on the replacement Reviewer at the “meet and confer,” the
                 Plaintiffs and the State shall each, within 21 days of the “meet and
                 confer,” nominate up to two individuals with expertise in the provision of
                 community services to persons with mental illness. The Court shall select
                 the Reviewer from among those nominated by the Parties.

           3.    The annual budget for the Reviewer shall be $350,000.00. All reasonable
                 fees, costs and expenses of the Reviewer, including the cost of any
                 consultants or staff hired by the Reviewer, shall be borne by the State up
                 to the amount of this annual budget. The Reviewer shall provide a
                 monthly accounting justifying the fees, costs and expenses. In no event
                 will the State reimburse the Reviewer for any fees, costs or expenses that
                 exceed the amount of this annual budget. Provided, however, in the event
                 of significant changes in circumstances that result in the Independent
                 Reviewer having to spend substantially more time or incur substantial and
                 unforeseen expenses, the Independent Reviewer may seek approval by the
                 State for an amendment to the budget and submit a justification for such
                 amendment. Within 30 days, the State may question the need for, or the
                 amount of, such additional unforeseen expenses, may suggest other
                 alternatives to avoid some or all of such expenditures, and may withhold
                 approval of such expenses; provided that approval of the proposed
                 amendment shall not be unreasonably withheld. The State shall be the
                 final arbiter of what costs and expenses are considered reasonable;
                 provided, however, that any costs incurred consistent with the
                 methodology approved pursuant to Section L (11) shall be considered
                 reasonable.

           4.    Within the budget described in Section L (3) above, the Reviewer may
                 hire staff and consultants, in consultation with and subject to reasonable
                 objections by the State, to assist in his or her evaluation of the State’s
                 compliance with this Agreement. The Reviewer and any hired staff or
                 consultants are neither agents nor business associates of the State, the
                 United States, the Plaintiff Class, or the Court.

           5.    The Reviewer shall confer regularly and informally with the Parties on
                 matters related to implementation efforts and compliance.

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           6.    The Reviewer, and any hired staff or consultants, may:

                 a.     Have ex parte communications at any time with the Parties,
                        including counsel for the Parties, and employees, agents,
                        contractors and all others working for or on behalf of the State, the
                        Plaintiff Class or the United States to implement the terms of this
                        Agreement.

                 b.     Request meetings with either or both Parties. The purpose of these
                        meetings shall include, among other things, prioritizing areas for
                        the Reviewer to review, scheduling visits, discussing areas of
                        concern, and discussing areas in which technical assistance may be
                        appropriate.

                 c.     Speak with stakeholders with such stakeholders’ consent, on a
                        confidential basis or otherwise, at the Reviewer’s discretion.

                 d.     Speak with anyone else the Reviewer and any staff/consultants
                        deem necessary for completing the compliance evaluations and
                        reports required by this Agreement. However, the State has no
                        obligation to require any individual who is not a State employee or
                        contractor to speak with the Reviewer.

                 e.     Provide technical assistance to the State regarding any issue related
                        to compliance with this Agreement.

                 f.     Attempt to resolve any dispute arising out of a Party’s position
                        with regard to the construction or implementation of this
                        Agreement.

                 g.     Testify in this case regarding any matter relating to the
                        implementation, enforcement, or dissolution of the Agreement,
                        including the Reviewer’s observations, findings and
                        recommendations in this matter. The Reviewer may not voluntarily
                        testify as an expert witness against the State in any other
                        administrative or civil proceeding of whatever nature brought
                        before any federal or state court or other administrative or judicial
                        tribunal. This limitation shall be a required term in the State’s
                        Contract with the Reviewer, which is subject to the approval of the
                        New York State Comptroller.

           7.    Throughout the pendency of this Agreement, the Reviewer will pursue a
                 problem-solving approach so that disagreements can be minimized and
                 resolved amicably and the energies of the Parties can be focused on the
                 State’s compliance with the provisions of the Agreement.


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           8.    The Reviewer shall comply with all federal and State patient rights and
                 confidentiality laws and regulations, including, but not limited to, those set
                 forth in the New York State Public Health Law and Mental Hygiene Law,
                 the Health Insurance Portability and Accountability Act of 1996
                 (“HIPAA”), the Standard for Privacy of Individually Identifiable Health
                 Information and Health Insurance Reform: Security Standards, 45 C.F.R.
                 Part 164, alcohol and drug abuse patient records laws codified at 42
                 U.S.C. § 290dd-2 and 42 C.F.R. Part 2, the Health Information
                 Technology for Economics and Clinical Health Act (“HITECH Act”)
                 adopted as part of the American Recovery and Reinvestment Act of 2009
                 (Public Law 111-5). For the purposes of Mental Hygiene Law § 33.13 (c)
                 1, the need for the Reviewer to access all relevant, otherwise confidential
                 information shall be deemed to significantly outweigh the need for
                 confidentiality.

           9.    The duties of the Reviewer shall be to observe, review, report findings,
                 and make recommendations to the parties solely with respect to the
                 implementation of and compliance with the Agreement. The State shall
                 direct all agencies, employees and contractors to cooperate fully with the
                 Reviewer. Neither Party shall interfere with the independent functions of
                 the Reviewer. The Reviewer shall devote such time as is necessary to
                 fulfill the purposes of the duties and responsibilities of the Reviewer
                 pursuant to this Agreement, but within the annual budget set forth in
                 Section L (3).

           10.   The Reviewer and any staff/consultants will have full access to the people,
                 places, and documents that are necessary to assess the State’s compliance
                 with and/or implementation of this Agreement, as permitted by law and in
                 accordance with the limitations set forth in Section L (8).

           11.   The Reviewer shall consult with the Parties and shall submit a written plan
                 with regard to the methodologies to be used by the Reviewer to assess
                 compliance with and implementation of the Agreement. The Parties shall
                 approve the plan prior to implementation. The Reviewer’s evaluations
                 may include regular onsite inspection of individuals’ residences, with the
                 consent of such individuals, and interviews with individuals receiving
                 services under this Agreement who consent to be interviewed.

           12.   In consultation with the Independent Reviewer, the State shall develop a
                 work plan to guide its implementation of this Agreement within 120 days
                 after the Reviewer is engaged by the State. The State shall share the work
                 plan with the Parties.

           13.   The Reviewer shall conduct evaluations of and issue five annual written
                 reports regarding the State’s compliance. The Reviewer shall produce five
                 annual reports regarding the State’s compliance with particular provisions

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                 of the Agreement to the Parties and the Court pursuant to the time frame in
                 Section L (14).

           14.   The written report shall detail with as much specificity as possible how the
                 State is or is not in compliance with particular provisions of the
                 Agreement. A draft of the Reviewer’s report shall be provided to the
                 Parties for comment each year within 30 days after the anniversary date of
                 the Court’s approval of this Agreement. The parties shall have 30 days
                 after receipt of such draft report to provide comments to the Reviewer, on
                 notice to each other, and the Reviewer shall issue to the Parties a final
                 annual report within 15 days after receiving such comments; provided,
                 however, that the parties may agree to extend such deadlines.

           15.   The Reviewer, including any hired staff or consultants, shall not enter into
                 any new contract with the State, the Plaintiff Class, or the United States
                 while serving as the Reviewer without the written consent of the other
                 Party.

           16.   The Reviewer, including any hired staff or consultants, shall not be:

                 a.     Liable for any claim, lawsuit, or demand arising out of the
                        reviewing functions set forth in this Settlement Agreement. This
                        paragraph does not apply to any proceeding before this Court for
                        enforcement of payment of contracts or subcontracts for reviewing
                        functions under this Settlement Agreement.

                 b.     Subject to formal discovery, including, but not limited to,
                        deposition(s), request(s) for documents, request(s) for admissions,
                        interrogatories, or other disclosures. The Parties are not entitled to
                        access the Independent Reviewer’s records or communications,
                        although the Independent Reviewer may provide copies of records
                        or communications at the Reviewer’s discretion. The Court may
                        review relevant records of the Reviewer in an enforcement
                        proceeding pursuant to Court order under Section M of this
                        Agreement.

           17.   The Independent Reviewer defined in Section L of the Settlement
                 Agreement may communicate with the court on an ex parte basis,
                 provided that the Independent Reviewer shall thereafter provide the parties
                 a summary of the substance of the communication orally or in writing.

     M.    ENFORCEMENT

           1.    The Parties agree jointly to file this Agreement with the United States
                 District Court for the Eastern District of New York.



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           2.    The Court shall retain jurisdiction to assure compliance with this
                 Agreement but not for more than 60 days after the Reviewer has provided
                 the Parties with its fifth and final report, at which time this Agreement
                 shall expire, provided, however:

                 a.     The Parties may agree to jointly ask the Court to terminate the
                        Agreement earlier. Upon 30 days’ notice to the Parties and the
                        Independent Reviewer, the State may also move to terminate the
                        Agreement, which motion shall be granted if the State
                        demonstrates that it has substantially complied with all its
                        obligations as set out in this Stipulation. Before the Court
                        considers the motion, the Independent Reviewer shall evaluate the
                        State’s compliance since the last annual report and the Parties shall
                        have an additional 30 days to review the evaluation.

                 b.     Plaintiffs may move to extend the Court’s jurisdiction, which
                        motion shall be granted if the Plaintiffs advise the Court, on notice
                        to the State, no later than 60 days after receiving the Independent
                        Reviewer’s fifth and final report, that the State is not in substantial
                        compliance with the Agreement. In such case, Plaintiffs shall
                        describe with as much specificity as possible how the State is not
                        in substantial compliance with particular provisions of the
                        Agreement. If the State contends that it is in substantial
                        compliance, the Court shall schedule further proceedings, and in
                        such proceedings the burden shall be on the State to demonstrate
                        substantial compliance as to the provisions identified by Plaintiffs.
                        If the State demonstrates such substantial compliance, the motion
                        to extend the Court’s jurisdiction shall not be granted.

           3.    In the event Plaintiffs allege non-compliance by Defendants with a
                 material provision of this Agreement, counsel to the Parties shall meet and
                 confer in an effort to resolve the reported non-compliance within 30 days
                 after Defendants’ counsel receives written notice.

                 a.     If such efforts fail to achieve a resolution of the issue within 60
                        days of such “meet and confer,” Plaintiffs may bring a motion for
                        enforcement of this Agreement and the Court shall determine a
                        reasonable schedule for the hearing and determination of such
                        motion.

                 b.     In the event of such a motion, Defendants will be considered to be
                        in “compliance” unless Plaintiffs establish that Defendants’
                        failures or omissions to meet the terms of this Agreement were not
                        minimal or isolated but were substantial and sufficiently frequent
                        or widespread to be systemic.



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     N.    ATTORNEYS’ FEES; POST-SETTLEMENT ACTIVITIES

           1.    Defendants shall pay to Plaintiff Class the sum of $200,000 in full
                 satisfaction of any and all claims in this lawsuit and in Disability
                 Advocates, Inc. v. Paterson, 03 CV 3209 (NGG), for attorneys’ fees, costs
                 and disbursements up to and including the date of execution of this
                 Agreement, which fees, costs and disbursements shall be substantiated by
                 back-up documentation including contemporaneous time sheets. In the
                 event that payment of this amount is not made within one hundred twenty
                 (120) days after the receipt by defendants’ counsel of a copy of this fully
                 executed Agreement, approved by the Court, interest shall accrue on the
                 outstanding balance at the rate set forth in 28 U.S.C. § 1961, beginning on
                 the one hundred and twenty-first day after receipt by defendants’ counsel
                 of a copy of this fully executed and so-ordered Agreement. The foregoing
                 payment shall be made payable to Disability Advocates, Inc. and sent to
                 Disability Advocates, Inc. DBA Disability Rights New York, 5 Clinton
                 Square, Albany, NY 12207, or in the event its offices shall relocate to its
                 then current address.

           2.    During the term of this Agreement it is anticipated that Plaintiff Class will
                 incur certain legal fees, and other costs and disbursements. Plaintiffs,
                 Plaintiff Class and counsel for the Plaintiff Class agree to limit all such
                 attorneys’ fees, costs and disbursements to what is directly and reasonably
                 necessary, up to a combined total, which shall not exceed $75,000 per
                 year, calculated on the basis of a 365 day year, beginning on the date of
                 execution of this Agreement and ending on the date this Agreement
                 expires under Section M.2. During the term of this Agreement, Counsel
                 for the Plaintiff Class agree to submit vouchers and contemporaneous time
                 records to defendants’ counsel on a semi-annual basis for any such
                 attorneys’ fees, costs and disbursements and defendants agree to reimburse
                 counsel for the Plaintiff Class within one hundred twenty (120) days of
                 receipt of such vouchers. If payment is delayed beyond one hundred
                 twenty (120) days, defendants will also pay interest at the rate set forth in
                 28 U.S.C. § 1961, which shall accrue beginning on the one hundred
                 twenty-first day. The foregoing payment(s) shall be made payable to
                 Disability Advocates, Inc. and sent to Disability Advocates, Inc. DBA
                 Disability Rights New York, 5 Clinton Square, Albany, NY 12207, or in
                 the event its offices shall relocate to its then current address.

           3.    For and in consideration of the payments referred to in paragraph N.1 and
                 N.2 above, the sufficiency of which is hereby acknowledged, Plaintiffs,
                 Plaintiff Class, Paul, Weiss, Rifkind, Wharton & Garrison LLP, Disability
                 Advocates, Inc., New York Lawyers for the Public Interest, Bazelon
                 Center for Mental Health Law, Urban Justice Center and MFY Legal

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                 Services, Inc., hereby release and forever discharge the State of New
                 York, OMH, DOH, and all of their present and former principals, officers,
                 directors, members, employees, agents, attorneys, insurers, subdivisions,
                 subsidiaries, heirs, administrators, and assigns, individually and in their
                 official capacities, from any and all claims for attorneys’ fees, costs,
                 and/or disbursements incurred in connection with this action, including but
                 not limited to all pre-litigation activities including negotiations, and all
                 claims for attorneys’ fees, costs, fees, and/or disbursements incurred in
                 connection with Disability Advocates, Inc. v. Paterson, 03 CV 3209
                 (NGG) in the United States District Court for the Eastern District of New
                 York, and in this Action.

           4.    The payment(s) referenced in paragraph N.1 and N.2 of this Agreement
                 are subject to the approval of all appropriate state officials in accordance
                 with N.Y. Public Officers Law § 17.

     O.    MISCELLANEOUS

           1.    In the event that, subsequent to the date of execution of this Agreement, a
                 court of competent jurisdiction issues a temporary restraining order, a
                 preliminary or permanent injunction, or judgment staying the enforcement
                 of, or invalidating, whether in whole or in material part, the Adult Home
                 Regulations (as defined herein), the Parties shall meet and confer in good
                 faith to determine appropriate modifications to this Agreement that would
                 give effect to the original intent of the Parties as expressed herein. The
                 Parties commit to meeting and conferring in good faith at least three times
                 during a period of 120 days after such a court order. If, after the 120-day
                 period, the Parties fail to reach an agreement on appropriate modifications
                 to this Agreement, then this Agreement will become null and void, and the
                 Parties retain all rights to revive any claims or defenses otherwise barred
                 by operation of this Agreement. For purposes of this subsection, the term
                 “Adult Home Regulations” shall refer to any of 18 NYCRR § 487.4(c) or
                 14 NYCRR §§ 580.6(c)(2) or 582.6(c)(2) as adopted January 16, 2013
                 (I.D. No. HLT-32-12-00020-A, and I.D. No. OMH-32-12-00019-A). or as
                 thereafter amended. Notwithstanding any of the foregoing, the parties
                 may mutually agree to a stay of enforcement of this Agreement, during
                 which it will not be rendered null and void.

           2.    The Defendants shall use best efforts to seek and secure funding necessary
                 to implement the terms of this Agreement. This Agreement is subject to
                 legislative appropriation of such funding and if such appropriations are not
                 made, the Parties shall retain all rights to revive any claims or defenses
                 otherwise barred by operation of this Agreement.

           3.    Solely for purposes of this agreement, the Parties agree to entry of an
                 Order certifying the class, defined as NYC Adult Home Residents, as

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                 defined in Section C (4). Any costs associated with certification of or
                 notification to such class shall be borne by Plaintiffs. In the event that the
                 class is not certified, this Agreement shall remain unaffected as between
                 the Named Plaintiffs, the United States and the State.

           4.    Nothing contained herein shall be deemed to be an admission by the
                 Defendants that they have in any manner or way violated the Plaintiffs’ or
                 any individual Adult Home Resident’s rights, or the rights of any other
                 person or entity, as defined in the constitutions, statutes, ordinances, rules
                 or regulations of the United States, the State of New York, or the City of
                 New York or any other rules, regulations or by-laws of any department or
                 subdivision of the State of New York.

           5.    This Agreement shall not be admissible in, nor is it related to, any other
                 litigation or settlement negotiations, except in an action or proceeding by
                 the Plaintiff to enforce the terms of this Agreement, or in a civil action
                 involving the State and another party in which the validity of the
                 regulations adopted on January 16, 2013 (I.D. No. HLT-32-12-00020-A,
                 and I.D. No. OMH-32-12-00019-A), or as thereafter amended, is at issue.

           6.    Nothing in this Agreement shall be enforced in a manner that would
                 require a fundamental alteration of the State’s programs, activities, or
                 services for Persons with Serious Mental Illnesses. Nothing in this
                 paragraph is intended to amend or change in any way the obligations set
                 forth in this Agreement, or prevent appropriate enforcement of this
                 Agreement.

           7.    This Agreement contains all the terms and conditions agreed upon by the
                 parties hereto, and no oral agreement entered into at any time nor any
                 written agreement entered into prior to the execution of this Agreement
                 regarding the subject matter of the instant proceeding shall be deemed to
                 exist, or to bind the parties hereto, or to vary the terms and conditions
                 contained herein.

           8.    All Parties to this Agreement have participated in its drafting; consequently,
                 any ambiguity shall not be construed for or against any party.

           9.    If any of the dates or periods of time described in this Agreement fall or
                 end on a public holiday or on a weekend, the date or period of time shall
                 be extended to the next business day.

           10.   All correspondence concerning this Agreement should be sent to the
                 following (or to such other address as the recipient named below shall
                 specify by notice in writing hereunder):

                 To Defendants:

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                        Barbara K. Hathaway, Assistant Attorney General
                        Office of the Attorney General
                        120 Broadway 24th floor
                        New York, New York 10271
                        Tel: 212-416-8560
                        e-mail: barbara.hathaway@ag.ny.gov

                 To Plaintiff United States:

                        Chief of the Disability Rights Section
                        U.S. Department of Justice
                        950 Pennsylvania Ave., NW – NYA
                        Washington, DC 20530
                        Tel: 202-307-0663

                 To the Plaintiff Class:

                        Andrew G. Gordon
                        PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
                        1285 Avenue of the Americas
                        New York, NY 10019-6064
                        Tel: 212-373-3543

                        -and-

                        Cliff Zucker
                        DISABILITY ADVOCATES, INC.
                        5 Clinton Square, 3rd floor
                        Albany, NY 12207
                        Tel: 518-432-7861

           11.   This Agreement may not be modified without the express written
                 agreement of counsel for the Parties. Absent such agreement, the Parties
                 may seek a modification of this Agreement only for good cause shown,
                 with the Court’s approval, upon thirty (30) days’ written notice to counsel
                 for the other Parties.

           12.   This Agreement may be executed in counterparts, and each counterpart,
                 when executed shall have the full efficacy of a signed original.
                 Photocopies of such signed counterparts may be used in lieu of the
                 originals for any purpose.

           13.   Signatories




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                 a.   The undersigned representative of the Defendants and the Attorney
                      General of the State of New York certifies that he or she is
                      authorized to enter into the terms and conditions of this Agreement
                      and to execute and bind legally such Defendants to this document.

                 b.   Each undersigned representative of Plaintiffs certifies that he or
                      she is authorized to enter into the terms and conditions of the
                      Agreement and to bind legally the Plaintiff to this document.




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    For the Plaintiff Class:

    Dated:    1/2-8/iM


    Andi'                                   Cliff Zucker
    Julie E.I(Fink                          Timothy A. Clune
    Geoffrey Chepiga                        DISABILITY ADVOCATES, INC.
    PAUL, WEISS, RIFKIND, WHARTON &         5 Clinton Square, 3rd floor
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    1285 Avenue of the Americas
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    Roberta Mueller                         Ira A. Bumim
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                                            299 Broadway, 4th floor
                                            New York, NY 10007




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                                         Appendix A:
                                   NYC Impacted Adult Homes 1


         1. Belle Harbor Manor
         2. Brooklyn Adult Care Center
         3. Central Assisted Living, LLC
         4. Elm York LLC
         5. Garden of Eden Home
         6. Harbor Terrace Adult Home and Assisted Living
         7. Kings Adult Care Center
         8. Lakeside Manor Home for Adults, Inc.
         9. Mermaid Manor Home for Adults
         10. New Gloria's Manor Home for Adults
         11. New Haven Manor
         12. Oceanview Manor Home for Adults
         13. Park Inn Home
         14. Parkview Home for Adults
         15. Queens Adult Care Center
         16. Riverdale Manor Home for Adults
         17. Rockaway Manor HFA
         18. S.S. Cosmas and Damian Adult Home
         19. Sanford Home
         20. Seaview Manor, LLC
         21. Surf Manor Home for Adults
         22. Surfside Manor Home for Adults, LLC
         23. Wavecrest Home for Adults




     1
      This list is based on the New York State Department of Health’s Adult Care Facility Annual
     Census Report.
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